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                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

JOHN DOE,                                        )
                                                 )
        Plaintiff,                               )
                                                 )
vs.                                              )        Case No. 17 CV 7991
                                                 )
THE BOARD OF TRUSTEES OF                         )        The Honorable Harry D. Leinenweber
NORTHERN ILLINOIS UNIVERSITY,                    )
                                                 )        JURY DEMAND
        Defendant.                               )

           DEFENDANT’S MOTION TO TRANSFER TO THE WESTERN DIVISION

        THE BOARD OF TRUSTEES OF NORTHERN ILLINOIS UNIVERSITY, by and through its

Attorney, JAMES G. GUAGLIARDO of the University’s OFFICE OF GENERAL COUNSEL, submits

the following Motion to Transfer this action to the Western Division, and states as follows:

1.      Plaintiff, JOHN DOE (“Plaintiff” or “Doe”), a former student at NORTHERN ILLINOIS

UNIVERSITY (“N.I.U.” or “University”), brings this complaint against the University alleging that

N.I.U. violated Title IX of the Education Amendments of 1972, and Doe’s due process rights pursuant to

42 U.S.C. Section 1983.

2.      Doe’s allegations against the University arise from a University investigation into allegations that

Doe had sexually assaulted a female in April 2016, in a fraternity near N.I.U.’s main campus in DeKalb,

Illinois, while Doe was a student attending classes at N.I.U.’s main Campus in DeKalb, Illinois.

3.      Doe's allegations against the University also arise from a University investigation into allegations

that Doe had used illegal drugs in September 2016, at a fraternity house near N.I.U.’s main campus in

DeKalb, Illinois, while Doe was a student attending classes at N.I.U.’s main Campus in DeKalb, Illinois.

4.      The University’s investigation into both of these matters took place at and near the University's

DeKalb, Illinois campus. The N.I.U. employees conducting these investigations and N.I.U. employees

who mighty testify about these investigations work at the N.I.U. main campus in DeKalb, Illinois.




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5.      The DeKalb Police Department also conducted a criminal investigation pertaining to Doe’s

alleged sexual assault. Accordingly, DeKalb Police Department personnel might be called upon to testify

in this matter.

6.      Here, venue is proper in either the Eastern or Western Divisions, as the Northern District of

Illinois has no local rule requiring divisional venue.

7.      N.I.U. respectfully requests that the Court transfer this matter to the Western Division of the

Northern District of Illinois, pursuant to 28 U.S.C. §1404(a). Transfer of venue under §1404(a) is proper

if the moving party demonstrates that: (1) venue is proper in both the transferee and transferor courts; (2)

it is for the convenience of the parties or witnesses, also called “private interest” factors; and (3) it is in

the interest of justice, called “public interest” factors. Bjoraker v. Dakota, Minn. & E.R.R. Corp., No. 12

C 07513, 2013 WL 951155, at *2 (N.D. Ill. Mar. 12, 2013); Medi USA v. Jobst Institute, Inc., 791 F.Supp.

208, 210 (N.D. Ill. 1992). All of these factors favor transfer to the Western Division.

8.      Prior to the filing of this motion, the undersigned contacted Plaintiff’s counsel by phone asking if

Plaintiff opposes transfer to the Western Division. This motion is not agreed, as Plaintiff does oppose

transfer.

        WHEREFORE, THE BOARD OF TRUSTEES OF NORTHERN ILLINOIS UNIVERSITY, for

the reasons set forth in paragraphs 1 through 7 above, respectfully requests this Honorable Court to

transfer this case to the Northern District of Illinois, Western Division, and requests that the Court grant

such further relief as it finds reasonable and just.

Dated: September 10, 2018                                     Respectfully Submitted,

                                                              NORTHERN ILLINOIS UNIVERSITY

                                                              s/ James G. Guagliardo

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                                    CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that in accordance with Federal Rule of Civil Procedure 5 and
the General Order on Electronic Case Filing (ECF), that the foregoing Motion to Transfer was served on
Monday, September 10, 2018 to the following CM/ECF user:

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gpissetzky@pbzlawfirm.com


                                                        NORTHERN ILLINOIS UNIVERSITY

                                                        s/ James G. Guagliardo



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